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8                       UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
9

10    MICHAEL BRANG, individually and on  )                       Case No.
      behalf of all others similarly situated,
                                          )
11
                       Plaintiff,         )                       2:19-cv-04186-FMO-KS
12                                        )                       NOTICE OF DISMISSAL OF
                           v.                                     ACTION WITH PREJUDICE
13
                                          )
      THREE B FINANCIAL, LLC et al., DOES )                       AS TO PLAINTIFF AND
14
      1 through 10 Inclusive,             )                       WITHOUT PREJUDICE AS
15                                        )                       TO PUTATIVE CLASS
                   Defendants.            )
16
                                          )
17

18   NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of Civil
19   Procedure 41(a)(1), hereby voluntarily dismisses this matter with prejudice as to
20
     plaintiff and without prejudice as to the putative class. Each party shall bear their
21
     own costs and attorneys’ fees. Defendant has neither answered Plaintiff’s
22
     Complaint, nor filed a motion for summary judgment. Accordingly, this matter
23
     may be dismissed with prejudice as to individual claims and without an Order of
24
     the Court.
25
     Respectfully submitted this 16th Day of October, 2019.
26
                                        By: s/Adrian R. Bacon Esq.
27                                            Adrian R. Bacon
28                                           Attorney For Plaintiff



                                        Notice of Dismissal - 1
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2                            CERTIFICATE OF SERVICE
3
     Filed electronically on October 16, 2019, with:
4

5    United States District Court CM/ECF system
6
     Notification sent electronically on October 16, 2019to:
7

8
     To the Honorable Court, all parties and their Counsel of Record

9

10   s/ Adrian R. Bacon
11
       Adrian R. Bacon
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                                      Notice of Dismissal - 2
